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  16
  17                    IN THE UNITED STATES DISTRICT COURT
  18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  19                               WESTERN DIVISION
  20   CRYTEK GMBH,                           )   Case No. 2:17-cv-08937-DMG-FFM
                                              )
  21                            Plaintiff,    )   [HON. DOLLY M. GEE]
                                              )
  22               v.                         )   CRYTEK GMBH’S RESPONSE
                                              )   TO DEFENDANTS’ MOTION
  23   CLOUD IMPERIUM GAMES CORP.             )   FOR BOND
       and ROBERTS SPACE INDUSTRIES           )
  24   CORP.,                                 )   Date: June 28, 2019
                                              )   Time: 9:30 AM
  25                            Defendants.   )   Courtroom: 8C
  26
  27
  28


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   1     I.      INTRODUCTION
   2          CIG’s motion for bond is built on a series of fictions. While CIG may hope that
   3 Crytek is “teetering on the brink of insolvency,” the reports of Crytek’s demise are
   4 greatly exaggerated. While CIG may wish that there is no remedy for Crytek in this
   5 action, CIG knows full well that equitable specific performance of the terms of the
   6 GLA contract are just as commercially important to Crytek (and just as undesirable to
   7 CIG) as monetary relief. While CIG may yearn to stop using the CryEngine in order
   8 to avoid the requirements of the GLA, it did not do so. In fact, CIG’s bond motion is
   9 inextricably entwined with its contention that it “switched” from the CryEngine to the
  10 Lumberyard Engine. Yet, CIG’s own nuanced statements indicate that CIG did not
  11 actually replace the CryEngine code embedded in the game with the Lumberyard
  12 Engine code. Instead, the “switch” suggested by CIG was nothing more than CIG
  13 electing to enter a new license agreement with Amazon whereby CIG apparently
  14 licensed the CryEngine—for a second time. CIG’s apparent decision to take a second
  15 license does not render its agreement with Crytek null and void. At least as long as
  16 CIG is using the CryEngine code, it is bound by the terms of the GLA whether it calls
  17 the code the CryEngine or the Lumberyard Engine. This thread that underlies many
  18 of CIG’s arguments, once pulled, will unravel CIG’s premature claims of victory and
  19 will lead to Crytek meeting many if not all of its objectives in this litigation.
  20 Ultimately, to be entitled to a bond, CIG must establish that it has a reasonable
  21 possibility of being found the “prevailing party” in view of Crytek’s multiple claims
  22 of breach of the GLA. In cases such as this, prevailing party status comes down to
  23 which party accomplishes its main litigation objectives. This is a highly discretionary,
  24 highly fact-intensive inquiry that CIG does not even attempt to support in its brief.
  25 CIG pays no mind to whether Crytek is likely to obtain its main litigation objectives.
  26 Nor does CIG’s motion reflect any attempt even to understand what those objectives
  27 might be. CIG does not address the necessary questions, and CIG has not met its
  28 burden of demonstrating entitlement to any bond.
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   1     II.      CIG HAS NOT ADDRESSED THE NECESSARY QUESTIONS TO
   2              MEET ITS BURDEN
   3           California Code of Civil Procedure § 1030 provides that a defendant may move
   4 to require the plaintiff to post a bond where “the plaintiff resides out of the state or is
   5 a foreign corporation and [] there is a reasonable possibility that the moving defendant
   6 will obtain judgment in the action or special proceeding.” Cal. Civ. Proc. Code § 1030.
   7 Here, CIG posits that it will be entitled, under paragraph 10.8 of the GLA, to an award
   8 (i.e., judgment) of attorneys’ fees and costs. Paragraph 10.8 limits such awards only
   9 to a prevailing party. CIG suggests that if it prevails on some claims or if Crytek is not
  10 awarded a large monetary award, then CIG is a prevailing party. This is not how a
  11 prevailing party is defined in cases such as this, and CIG has done virtually none of
  12 the analysis that would be required to show even a reasonable possibility of who will
  13 be a prevailing party in this action, if anyone.
  14           The prevailing party in a contract matter “is ‘the party who recovered a greater
  15 relief in the action on the contract.’” See Cal. Civ. Proc. Code § 1717(b)(1). “When
  16 dealing with a contract case with multiple claims, ‘if neither party achieves a complete
  17 victory on all of the contract claims, it is within the discretion of the trial court to
  18 determine which party prevailed on the contract, or whether, on balance, neither party
  19 prevailed sufficiently to justify an award of fees.” Headlands Reserve, LLC v. Ctr. For
  20 Natural Lands Mgmt., No. SACV 07-00203-CJC(AJWx), 2008 WL 11342747 at *2
  21 (C.D. Cal. Apr. 9, 2008).
  22           The determination is fact-intensive: “‘the trial court is to compare the relief
  23 awarded on the contract claim or claims with the parties’ demands on those same
  24 claims and their litigation objectives as disclosed by the pleadings, trial briefs, opening
  25 statements, and similar sources.’” Tire Hanger Corp. v. Rotary Lift, No. EDCV 15-
  26 2347 JGB (SPx), 2019 WL 1091334 at *4 (C.D. Cal. Jan. 14, 2019) (quoting Hsu v.
  27 Abbara, 9 Cal. 4th 863, 875-76 (1995)). And even where the plaintiff is denied direct
  28 relief, the “court may still find a party prevailed . . . if it is clear that the party has
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   1 otherwise achieved its main litigation objective.” Id. Finally, “[t]he court may consider
   2 ‘earlier payments, settlements, insurance proceeds or other recovery’ in addition to the
   3 monetary judgment.” Id.
   4        CIG provides none of this analysis. It has not considered or discussed the actual
   5 relief sought by Crytek. It has not even attempted to identify or discuss Crytek’s
   6 litigation objectives and Crytek’s chances of achieving those objectives. It has not
   7 considered the impact of other relevant facts, such as the fact that Crytek has already
   8 secured CIG’s delivery of its bug fixes as a result of this lawsuit. On the record
   9 presented by CIG, the Court is simply not armed to determine whether it is a
  10 reasonable possibility that anyone will be a prevailing party after the Court exercises
  11 its discretion in line with the considerations noted above. CIG has not provided
  12 sufficient information on which this Court could actually make that determination.
  13 CIG has failed to address the relevant inquiries or to present evidence by which the
  14 Court could make a reasonable prediction, and its motion should be denied.
  15     III.   CIG’S ASSESSMENT OF THE MERITS IS BOTH WRONG AND
  16            SUPERFICIAL.
  17        While CIG’s approach cannot support a fair assessment regarding who will be
  18 the prevailing party in this action, CIG’s explication of the merits and potential
  19 remedies suffers from serious deficiencies that cast a further pall on its efforts to show
  20 entitlement to a bond.
  21            A. CIG Remains Bound by the GLA Despite its License with Amazon
  22        As an initial matter, there appears to be a significant disconnect between the
  23 declaration evidence CIG submitted in support of its motion, and the arguments made
  24 in the motion itself. As CIG acknowledges, it developed Star Citizen and Squadron
  25 42 using Crytek’s CryEngine video game development platform.                  Dkt. 57-2
  26 (Freyermuth Declaration), at ¶ 7-8. It did so under the terms of the GLA dated
  27 November 20, 2012. Id. On April 30, 2016, CIG obtained another license to the
  28 CryEngine embedded in Star Citizen from Amazon in addition to rights to an Amazon
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   1 game engine known as Lumberyard. Id. at 9.
   2        In its brief, CIG describes taking this second license as a “switch” to the
   3 Lumberyard engine. Dkt. 57-1, at 3. CIG further argues in its brief that “Crytek’s code
   4 will no longer be in use.” Id. at 13. In contrast, Mr. Freyermuth’s actual declaration
   5 statements do not say any such thing: “Amazon granted CIG a license to use in Star
   6 Citizen and Squadron 42 not only Lumberyard, but also the version of CryEngine
   7 that was then embedded in the games’ source code. Following execution of the
   8 Amazon license, CIG began developing the games under the Amazon license. When
   9 CIG releases Squadron 42 to the public, the game engine source code will be licensed
  10 under this Amazon agreement, not the GLA.” Dkt. 57-2, at ¶ 9 (emphasis added).
  11 Mr. Freyermuth did not testify that the CryEngine code already embedded in Star
  12 Citizen and Squadron 42 was removed from those games, and, on information and
  13 belief, to do so would be a technical impossibility absent starting development over
  14 from scratch. Rather, Mr. Freyermuth is suggesting that CIG “switched” licenses from
  15 the GLA to the Amazon license. Two points follow from this. First, CIG’s arguments
  16 in its brief that “Crytek’s code will no longer be in use” appear to either be inaccurate
  17 or a very loose characterization of the facts. Second, while CIG is no doubt free to
  18 take a second license to the CryEngine from Amazon, CIG cannot unilaterally revoke
  19 the GLA by doing so. So long as the CryEngine remains embedded in CIG’s games,
  20 CIG must abide by the GLA and is currently in breach of multiple terms of the GLA.
  21            B. Crytek’s Claims Are Meritorious and Commercially Meaningful
  22        Because CIG remains bound by the GLA, many of CIG’s arguments regarding
  23 Crytek’s claims become untenable as detailed below. When viewed in conjunction
  24 with Crytek’s litigation objectives, if any party has a reasonable possibility of being
  25 named a prevailing party, it is Crytek.
  26 Crytek’s Credits.
  27        CIG has breached and remains in breach of the GLA by removing Crytek’s
  28 credits from the Star Citizen page when the game continues to employ CryEngine
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   1 code. As noted above, CIG’s own statements establish that it continues to use the
   2 CryEngine covered by the GLA. It is entirely immaterial that CIG chose to take an
   3 additional license to the CryEngine code already embedded in Star Citizen and
   4 Squadron 42 from Amazon. At least by continuing to use the CryEngine, CIG remains
   5 bound by the terms of the GLA regardless of any subsequent license from Amazon.
   6 Indeed, the simple determination that CIG continues to use the CryEngine is
   7 determinative of its breach of this term. Put simply, so long as the CryEngine is in Star
   8 Citizen, CIG must give Crytek due credit under the terms of the GLA. CIG admits it
   9 removed Crytek’s credits. Dkt. 57-1 at 16. Thus, once Crytek confirms that CIG
  10 continues to use the CryEngine code, breach is a non-issue.
  11        Crytek will also be able to show damages (both monetary and reputational) for
  12 CIG’s failure to display its credits. The success of Star Citizen rests on its use of the
  13 CryEngine. CIG has relied on the CryEngine since Star Citizen’s inception and
  14 continues to rely on it now for development. CIG’s failure to give Crytek credit for its
  15 part in the development of Star Citizen deprives Crytek of obvious and valuable brand
  16 development for Crytek itself. More problematically, by publicly claiming it has
  17 switched to the Lumberyard engine in conjunction with removing Crytek’s credits, it
  18 is Amazon’s Lumberyard engine that is reputationally benefitting when it is Crytek’s
  19 reputation and brand that should be enhanced. This loss in marketing and branding
  20 rights is both monetarily valuable as far as past losses, but it is also a harm that can be
  21 equitably rectified going forward in terms of specific performance. Crytek’s credits
  22 should be returned to Star Citizen, and that is certainly one of Crytek’s objectives in
  23 this litigation. The merits of Crytek’s claim are straight-forward and Crytek’s credits
  24 being returned to the splash screen of Star Citizen is in line with one of Crytek’s
  25 significant litigation objectives.
  26 Bug Fixes.
  27        The GLA very clearly requires CIG to provide its bug fixes “annually.” Dkt.
  28 20-3, at ¶ 7.3. Despite this, CIG takes the position the contract sets out, no “fixed time”
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   1 for performance, and that CIG was only obligated to fulfill its contractual obligations
   2 upon request. CIG does not explain how the term “annually” does not constitute a
   3 fixed time. Nor do the cases relied on by CIG suggest that the requirement for annual
   4 delivery is not “fixed.” Indeed, there are only two possible, reasonable understandings
   5 of “annually” under the GLA: once every year on the anniversary of the GLA’s
   6 execution or December 31 of every year. CIG’s attempts to impose a duty on Crytek,
   7 who was not in a position to know when CIG implemented bug fixes, to request bug
   8 fixes is facially absurd. If CIG implemented bug fixes, it was required to provide them
   9 annually. It did not do so, and this failure is a breach of the GLA.
  10        CIG notes that it has now provided its bug fixes. Dkt. 57-1 at 15. Of course,
  11 this occurred only after Crytek filed this lawsuit. Such post-filing activity cuts against
  12 CIG’s position on the present motion. CIG’s untimely attempt to rectify a breach only
  13 after being confronted with a lawsuit is tantamount to an “early payment” which the
  14 Court may consider in assessing prevailing party status. Indeed, the delivery of these
  15 long overdue fixes to Crytek is a victory in and of itself that the Court ultimately should
  16 weigh in Crytek’s favor in the prevailing party analysis.
  17 BugSmashers.
  18        At the outset, CIG does not dispute that it published portions of Crytek’s
  19 confidential CryEngine source code without permission. Instead, CIG sets forth a
  20 number of reasons why its publishing of the CryEngine code in breach of the GLA
  21 should be excused. With respect to CIG’s excuses, Crytek has not made its own code
  22 “publicly available.” Rather, interested parties can secure a license and then download
  23 the CryEngine code subject to the terms of that license, including restrictions on
  24 further disclosure. Crytek’s business model should not deprive it of the right to control
  25 public dissemination of its code, which is exactly what CIG did.
  26        CIG next asserts that Crytek will not be able to establish monetary damages for
  27 this breach. CIG’s “breach is acceptable as long as Crytek can’t prove monetary harm”
  28 attitude is cavalier and disturbing. It ignores that Crytek is entitled to equitable relief
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    1 ordering CIG to take down its BugSmashers videos and cease publishing future videos
    2 that show confidential CryEngine code in violation of the GLA. CIG should not be
    3 permitted to violate the GLA and use Crytek’s code in the process of enhancing its
    4 own brand and reputation.      These are meaningful and legitimate concerns, and
    5 stopping these unfair tactics is important to Crytek’s business. CIG’s premise that if
    6 it does not have to pay a monetary award, it gets a free pass is mistaken and ignores
    7 business and commercial realities that are important to Crytek.
    8 Squadron 42.
    9        CIG’s primary argument—that there can be no breach until Squadron 42 is
  10 released—lacks merit. Crytek’s Squadron 42 claim is premised on paragraph 2.1.2 of
  11 the GLA which grants CIG the right “to exclusively embed CryEngine in the Game
  12 and develop the Game[.]” Dkt. 20-3 at ¶ 2.1.2. Thus, the conduct underlying Crytek’s
  13 allegations of breach is not the release of the Game, but rather the development of the
  14 Game. CIG had no right to use CryEngine in development of a stand-alone game such
  15 as Squadron 42. Because that development has already occurred and continues to
  16 occur, CIG is wrong that the “time for performance” has not yet arrived. Dkt. 57-1 at
  17 12.
  18         CIG premises its argument on the description of the Game provided in Exhibit
  19 2 of the GLA. In relevant part, that description provides:
  20         For the avoidance of doubt, the Game does not include any content being
  21         sold and marketed separately, and not being accessed through the Star
             Citizen Game client, e.g. a fleet battle RTS sold and marketed as a
  22         separate, standalone PC game that does not interact with the main Star
  23         Citizen game (as opposed to an add-on / DLC to the Game).
  24 Dkt. 20-3, at Ex. 2. CIG’s interpretation of this description and its resulting impact on
  25 CIG’s contractual obligation is flawed in several key ways. First, CIG is wrong that
  26 “Exhibit 2 to the GLA prohibits CIG from selling or marketing Squadron 42 as a
  27 separate unit only if players can actually access the standalone game.” Dkt. 57-1 at
  28
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    1 12. As noted above, Crytek’s breach claim is based on the development of the Game,
    2 not the release of the Game. So, the relevant question is whether CIG is developing
    3 Squadron 42 to be “sold and marketed separately and not being accessed through the
    4 Star Citizen Game client” such that it would not constitute the Game—rendering
    5 CIG’s development activities a breach of the GLA. CIG’s public representations and
    6 statements in its opening brief suggest that it has been developing Squadron 42 as a
    7 game that would be “sold and marketed separately and not being accessed through the
    8 Star Citizen Game client”. For example, on December 22, 2017—after its public
    9 statements regarding the functional tie between Star Citizen and Squadron 42—the
  10 Star Citizen Youtube channel posted a video that publicly described Squadron 42 as
  11 “standalone.” See Ex. A. In its opening brief, CIG further suggests that “when CIG
  12 does release Squadron 42, the game engine source code will be licensed under CIG’s
  13 separate agreement with Amazon, not Crytek” and thus “the restrictions in [the GLA]
  14 have no application to that future release.” Dkt. 57-1, at 12-13. Setting aside that the
  15 Amazon license does not void the GLA as noted above, CIG is acknowledging that
  16 Squadron 42 will be released as a game that is not only accessible through the Star
  17 Citizen game client and, importantly, the development that has already taken place of
  18 such a standalone game is in violation of the GLA. Such development is a currently
  19 existing breach of the GLA that is presently actionable.
  20        Second, CIG omits a key comma, emphasized in the block quote above, from
  21 its reproduction of the language describing the Game. The inclusion of that comma
  22 alters the description, rendering the “content being sold and marketed separately” a
  23 distinct clause from “and not being accessed through the Star Citizen Game client.”
  24 Viewed with the punctuation intact, it is clear that either selling and marketing content
  25 separately or content not being accessed through the Star Citizen game client would
  26 fall outside the scope of the Game. Here, there is no dispute that CIG is already
  27 separately marketing and selling Squadron 42 separate from Star Citizen. Thus,
  28 Squadron 42 does not meet the definition for the Game, and CIG’s development of
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    1 Squadron 42 constitutes a presently actionable breach for this additional reason.
    2        CIG’s development activities relating to a standalone game, whether released
    3 or not, are not covered by the GLA. Those development activities have deprived
    4 Crytek of fair compensation. The compensation paid by CIG for the GLA was only
    5 for development activities on content fitting within the definition of the Game. CIG
    6 has developed Squadron 42 as a standalone game without having paid any
    7 compensation for that right. While Crytek may or may not be entitled to monetary
    8 damages depending on what discovery reveals about CIG’s intent (as discussed further
    9 below), Crytek is certainly entitled to equitable relief that blocks further development
  10 or utilization of Squadron 42 that in any way includes code developed without proper
  11 license rights.    Again, the Amazon license cannot retroactively fix unlicensed
  12 development activities, and it is Crytek’s objective to either be compensated for those
  13 unlicensed activities or to equitably prevent CIG from enjoying the benefits of its
  14 breach. Furthermore, to the extent Squadron 42 is found to fall outside the GLA’s
  15 terms as an unlicensed game, CIG would be liable for copyright infringement at least
  16 up to the date of the Amazon agreement.
  17 Faceware.
  18         CIG asserts Crytek’s information with respect to this claim is simply wrong.
  19 While Crytek has good reason to believe this disclosure occurred, it would be happy
  20 to learn it is wrong. Discovery will quickly resolve the question. Crytek’s objective
  21 here, as with the BugSmasher claim, is simply to insure that CIG has not and does not
  22 wrongfully disclose the CryEngine source code for its own benefit.
  23 Intentional Breach.
  24         Whether CIG is ultimately found to have intentionally breached the GLA should
  25 have little, if any, weight in the determination of whether Crytek has met its litigation
  26 objectives and thus is a prevailing party. Paragraph 6.1.4 of the GLA is nothing more
  27 than a limitation on monetary damages; it is not a heightened requirement for
  28 establishing breach. Indeed, as noted above, if Crytek succeeds on the merits of its
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    1 breach claims, paragraph 10.7 of the GLA makes explicitly clear that Crytek would be
    2 entitled to equitable relief. Crytek successfully obtaining equitable relief would satisfy
    3 many of its litigation objections and would support a finding that Crytek is the
    4 prevailing party, whether or not it ultimately is entitled to monetary relief. With respect
    5 to monetary relief, it is obvious that CIG violated and violates its promotion duties
    6 intentionally. Although knowing that it did not change the code base of the game
    7 engine and knowing that the GLA contains the obligation to promote CryEngine while
    8 CIG was using it, CIG intentionally removed Crytek´s credits. With regard to
    9 Squadron42, CIG’s intentionality is also obvious as shown above, but Crytek will seek
  10 discovery demonstrating that, before CIG entered the Amazon license—CIG’s
  11 principle explanation—its activities in developing Squadron 42 as a stand-alone game
  12 were knowingly and intentionally in breach of the GLA. Regardless, if monetary
  13 damages are not available, Crytek seeks equitable relief blocking any further use or
  14 development of Squadron 42 using the CryEngine as that entire game is now built on
  15 unlicensed development activities.
  16      IV.    CIG’S BOND REQUEST IS EXCESSIVE
  17         In addition, CIG has requested an excessive bond in the amount of
  18 $2,193,298.45 to secure CIG’s putative award of costs and attorneys’ fees. Here CIG
  19 asserts that the claims are unusually complex while simultaneously asserting that
  20 Crytek’s remaining claims are “meritless” and “only a rump set of quibbles.” Dkt. 57-
  21 1 at 10; 11. If Crytek’s claims are “meritless” “quibbles,” they should not require such
  22 an exorbitant amount of fees and expenses for CIG to defend. The reality is that CIG
  23 seeks an inflated bond that is disconnected from what this case should actually require.
  24 CIG’s fees to date illustrate this fact. CIG has already incurred almost $400,000 in fees
  25 despite only recently moving past the pleadings stage of this litigation. Dkt. 57-16 at
  26 6. That amount is staggering given CIG’s dismissive characterization of this case and
  27 suggests that CIG’s fees ultimately will not be found to be “reasonable” as required
  28 by the GLA. Indeed, in reaching its estimation CIG relies largely on subjective
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    1 metrics: (1) attorney experience; (2) nature and complexity of the case; (3) amount in
    2 controversy; and (4) conduct of Crytek and its counsel. Id. at 7. None of these,
    3 however, are anything more than subjective “say so.” And these subjective
    4 assessments are coming from the same attorneys that deemed Crytek’s claims
    5 “meritless” “quibbles.” While Crytek disagrees that its claims are either “meritless”
    6 or “quibbles,” both parties seemingly agree that the litigation of these claims should
    7 be straightforward. As the Court can likely discern from the explanations above, the
    8 questions at issue are not particularly complicated. Indeed, they are quite simple.
    9 Thus, the “nature and complexity” of the case supports a minimal fees award.
  10 Similarly, the amount in controversy cannot support CIG’s request because that
  11 amount has yet to be determined—discovery is in its early stages and there has been
  12 no expert testimony on the matter. Finally, to the extent the conduct of Crytek’s
  13 counsel was relevant at all to this estimation, Crytek’s counsel has changed rendering
  14 CIG’s stated concerns moot. Finally, CIG has not set forth any credible rational or
  15 objective evidence in its opening brief to suggest otherwise.
  16         Need for Source Code Expert. CIG superficially suggests that Crytek’s
  17 remaining claims will require “substantial” “expert fees and legal fees related to source
  18 code analysis.” Dkt. 57-1 at 21. At the outset, expert fees are explicitly excluded from
  19 awards of costs under California law absent an order from the Court. See Cal. Civ.
  20 Proc. Code § 1033.5(b)(1). And CIG has provided no reason to believe such an order
  21 would be issued here, as a review of the disputes identified by CIG should not turn on
  22 source code analysis. Whether CIG is still using some or all of the CryEngine is a
  23 simple fact issue that should be determined through normal discovery means.
  24 Similarly, as CIG has noted, it has already delivered its bug fixes to Crytek (after the
  25 filing of this lawsuit), so it is unclear what possible source code analysis would be
  26 necessary for that claim. Finally, regarding BugSmashers, the only claim that directly
  27 implicates the code itself, the primary question for breach is whether CIG did in fact
  28 include portions of the code in its videos—a fact that CIG does not appear to contest.
                   CRYTEK’S RESPONSE TO DEFENDANTS’ MOTION FOR BOND
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    1 CIG has not explained why an expert code analysis would be required to answer any
    2 of these questions.
    3        Crytek’s Discovery Approach and Litigation Counsel. Crytek’s counsel has
    4 changed rendering CIG’s arguments as to Crytek’s counsel and its discovery approach
    5 moot. Crytek will not be engaged in a scorched earth approach to this lawsuit, but
    6 rather intends to take a focused approach to establish its above-articulated claims.
    7 Similarly, there is no basis to assert that Crytek’s new counsel will seek anything other
    8 than normal means to streamline this litigation and CIG’s concerns regarding Crytek’s
    9 prior counsel are moot and should have no impact on CIG’s motion for bond.
  10         CIG’s $200 Million in Crowdfunding. While Crytek certainly has been
  11 damaged by CIG’s multiple contract breaches and should therefore be entitled to
  12 monetary relief if the intent provisions of the GLA are satisfied, Crytek has not yet
  13 placed any value on its monetary demands other than to note that the requirements for
  14 diversity jurisdiction are satisfied. Crytek’s discussion of CIG’s crowdfunding is
  15 indicative of both the commercial and equitable impacts of CIG’s breach: despite
  16 having raised $200 million in crowdfunding—which discovery will show that current
  17 CIG employees (former Crytek Technical Director Sean Tracy and COO Car Jones)
  18 largely credited to Crytek’s promotional efforts—CIG had no trouble disregarding its
  19 contractual obligations to Crytek the minute it became convenient. This context is not
  20 a monetary demand—it is context to explain why Crytek is seeking and entitled to
  21 equitable relief from the Court in the forms noted above and, it is context for Crytek’s
  22 eventual calculation of a monetary award should the other relevant conditions of the
  23 GLA be satisfied. Crytek is fairness driven, not money driven, and if fairness
  24 ultimately means nothing more than stopping CIG in its tracks because monetary relief
  25 is not available, that would meet Crytek’s objectives.
  26         As set forth above, CIG’s estimated fees is not premised on any objective
  27 assessment of the requirements of this case. In fact, CIG’s estimate appears directly
  28 tied to the cap on Crytek’s maximum aggregate liability (€1,850,000 as of November
                   CRYTEK’S RESPONSE TO DEFENDANTS’ MOTION FOR BOND
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    1 20, 2012 equaling $2,370,590) set forth in paragraph 6.1.4 of the GLA. Of course, the
    2 maximum allowable recovery under the GLA should have no bearing on the estimation
    3 of a reasonable bond in this particular litigation.
    4     V.      CONCLUSION
    5          For the foregoing reasons, Crytek respectfully requests that the Court deny
    6 CIG’s Motion for Bond. In the alternative, should this Court find a bond warranted,
    7 Crytek requests the required bond be substantially decreased to reflect the relatively
    8 straightforward nature of the remaining claims at issue.
    9 DATED: June 7, 2019
  10                                      ERISE IP, P.A.
  11
                                          By: /s/ Eric A. Buresh
  12                                                Eric A. Buresh (pro hac vice)
                                                        Attorneys for Plaintiff
  13                                                       CRYTEK GMBH
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                    CRYTEK’S RESPONSE TO DEFENDANTS’ MOTION FOR BOND
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